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        tJ..                          UNITED STATES DISTRICT COURT
                                       WESTERN DISTRICT OF TEXAS
                                                                                         cI.ix, U.S DISTRICT COURT


          FARRAH ABRAHAM,                                     Case No.

                                 Plaintiff,                   Judge   A1GCVO1UORP
                   -vs-

          NEW REMOTE PRODUCTIONS, INC.                        PLAINTIFFS COMPLAINT
                                                              FOR DAMAGES
          and

          VIACOM iNC.

          and

          ELEVENTH STREET PRODUCTIONS,
          iNC.

          and

          ANXIOUS ELEVEN, LLC

          and

          MORGAN J. FREEMAN

                                  Defendants.




          1.    This is an action by Farrah Abraham ("Ms. Abraham") to hold Defendants responsible for (1)

                harassing her because she did not conform to gender stereotypes; (2) wrongfully terminating

                her employment because she did not conform to gender stereotypes; and (3) terminating her

                employment in retaliation for complaining about the gender-stereotyping harassment she

                suffered. This civil action also seeks to hold New Remote Productions, Inc., Viacom Inc.,

                Eleventh Street Productions, Inc., and Anxious Eleven, LLC responsible for breach of
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contract, conversion, unjust enrichment, negligence, negligent hiring, retention, and/or

supervision, tortious interference with business relations, defamation, and intentional

infliction of emotional distress, as well as Morgan J. Freeman responsible for civil assault,

tortious interference with business relations, defamation, and intentional infliction of

emotional distress.

                                      THE PARTIES

2. Plaintiff Farrah Abraham is an individual and a resident of the state of Texas.

3.   Upon information and belief, Defendant New Remote Productions, Inc. operates as a

     subsidiary of Viacom, Inc., a domestic business corporation organized under the laws of

     the state of Delaware, with its principle place of business in New York.

4.   Upon information and belief, Defendant Viacom, Inc. is a domestic business corporation

     organized under the laws of the state of Delaware, with its principle place of business in

     New York.

5.   Defendant Eleventh Street Productions, Inc. is a domestic business corporation organized

     under the laws of the state of New York, with its principle place of business in New

     York.

6. Defendant Anxious Eleven, LLC is      a limited liability company organized under the laws

     of the state of New York, with its principle place of business in New York.

7.   Defendant Morgan J. Freeman is an individual and a resident of the state of New York.

                                     JURISDICTION

8.   This Court has personal jurisdiction over all Defendants because: (1) the Texas Long

     Ann Statute, Tex. Civ. Prac. & Rem. Code       § 17.042, is satisfied;   and (2) Defendants

     purposefully avail themselves of the privilege of conducting business in the state of




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      Texas, the conduct arises out of this purposeful availment in the state of Texas, and it is

      reasonable to hold them accountable in the state of Texas.

9. This Court also has original/subject matter       jurisdiction pursuant to 28 U.S.C.   § 13 32(a)

      and 28 U.S.C. § 1332(c)(1) because there is diversity of citizenship and the amount in

      controversy exceeds $75,000.00.



10. Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b)(2) because the events, acts,

      and omissions giving rise to Plaintiff's claims occurred in this district.

               FACTUAL BACKGROUND AND GENERAL ALLEGATIONS

11.   In August of 2009, Ms. Abraham entered into an agreement with New Remote

      Productions, Inc. ("NRPI"), on behalf of Viacom, Inc. ("Viacom"), whereby she agreed

      to be a participant on a documentary television series titled "16 and Pregnanf', which

      later changed to "Teen Mom."

12. For almost a decade, Ms. Abraham has been a main cast member on "Teen Mom" and its

      subsequent spin-off series, "Teen Mom 0G."

13. On or around October 30, 2017, Ms. Abraham was confronted by Morgan J. Freeman

      ("Freeman"), one of the executive producers for Teen Mom OG and the CEO of Eleventh

      Street Productions, Inc., at her Texas residence.

14. Freeman, alongside his production crew, harassed, humiliated, discriminated against,

      disrespected, ridiculed, degraded, and sex shamed Ms. Abraham for her recent decision to

      pursue opportunities in the adult entertainment industry.




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15. Also during this confrontation threats were made against Ms. Abraham by Freeman about

    ending her career with MTV, sabotaging future deals Ms. Abraham had in place with

   MTV, and defaming her.

16. Given Freeman's hostile tone, mannerisms, and body language, Ms. Abraham feared for

    her life.

17. Shortly after this confrontation, and as   a direct result of Freeman following through on

    many of the threats he made, NRPI informed Ms. Abraham that her participation for the

    remainder of the current Teen Mom OG season was no longer needed.

18. In addition, NRPI informed Ms. Abraham that they were pulling        the plug on a lucrative

    deal that the two had been in negotiations for months.

19. Notwithstanding   NRPI's decision to cease filming Ms. Abraham, Ms. Abraham has

    continued to fulfill her coniractual obligations in good faith.

                                           COUNT I

 HosTILE WORK ENVIRONMENT SEX-BASED/GENDER DIscRIMINATIoN IN EMPLOYMENT
  IN VIOLATION OF TITLE VII OF THE CWIL RIGHTS ACT OF 1964,42 U.S.C. § 2000

20. Each of the paragraphs is incorporated by reference as if fully set forth herein.

21. Ms. Abraham is a female and a member of a protected class.

22. Ms. Abraham was harassed by Defendants in her workplace because Ms. Abraham did

   not meet Defendants' gender stereotypes on how women should act and appear.

23. Defendants' verbal and gestural harassment of Ms. Abraham was so severe and pervasive

   as to affect and/or alter a term, condition, and/or privilege      of her employment. The
   harassment was abusive.
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24. Defendants' harassment of Ms. Abraham based upon Defendants' gender stereotypes of

   how women should act and appear, unreasonably interfered with Ms. Abraham's work

   performance and psychological well-being.

25. Defendants failed to take corrective and/or appropriate action subsequent to being placed

   on notice of Freeman's severe and pervasive behavior. Rather, Defendants retaliated

   against Ms. Abraham for complaining and terminated her employment

26. As a result of Defendants' actions, Ms. Abraham has been and continues to be damaged

   in an amount to be determined at thai, but consisting of contractual damages, economic

   damages, and non-economic compensatory damages such as those for emotional pain,

   emotional suffering, inconvenience, mental anguish, loss of enjoyment of life, and other

   nonpecuniary losses.

27. Pursuant to 42 U.S.C. §      1981a and 2000e-5, Ms. Abraham is entitled to non-economic

   compensatory damages in an amount consistent with the foregoing statutes.

28. Defendants acted with malice and reckless indifference to Ms. Abraham's federally-

   protected rights and, pursuant to 42 U.S.C. § 1981a, 2000e-5, Ms. Abraham is entitled

   to punitive damages in an amount consistent with the foregoing statutes.

29. Pursuant to 42   u.s.c. §   2000e-5(k), Ms. Abraham seeks her reasonable attorneys' fees

   incurred in pursuing the claims set forth in count I.

                                          COUNT II

WRONGFUL TERMINATION/RETALIATIONIN EMPLOYMENT IN VIOLATION OF THE CiVIL
RIGHTS ACT OF 1964,42 U.S.C. § 2000 ANI) CHAPTER 21 OF TIlE TEXAS LABOR CODE

30. Each of the paragraphs is incorporated by reference as   if fully set forth herein.

31. Ms. Abraham is a member of a protected class.




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32. Ms. Abraham opposed a practice made unlawful by Title VIT of the Civil Rights Act of

   1964 by complaining to the executives about her severe and pervasive harassment

   because Ms. Abraham did not meet Defendant Freeman's gender stereotypes on how

   women should act and appear.

33. Ms. Abraham was subsequently terminated from her employment

34. Ms. Abraham's termination is causally related to protected activity of opposing

   Defendant Freeman's unlawful employment practice.

35. As a result   of Defendants' actions, Ms. Abraham has been and continues to be damaged

   in an amount to be determined at trial, but consisting of contractual damages, economic

   damages, non-economic compensatory damages such as those for emotional pain,

   emotional suffering, inconvenience, mental anguish, loss of enjoyment of life, and other

   nonpecuniary losses.

36. Pursuant to 42 U.S.C. §    1981a and 2000e-5, Ms. Abraham is entitled to non-economic

   compensatory damages in an amount consistent with the foregoing statutes.

37. Defendants acted with malice and reckless indifference to Ms. Abraham's federally-

   protected rights and, pursuant to 42 U.S.C.    §   1981a, 2000e-5, Ms. Abraham is entitled

   to punitive damages in an amount consistent with the foregoing statutes.

38. Pursuant to 42 U.S.C. § 2000e-5(k), Ms. Abraham seeks her reasonable attorneys' fees

    incuned in pursuing the claims set forth in Count H.

                                          COUNT ifi

      HOSTILE WORK ENVIRONMENT GENDER DISCRIMINATION IN EMPLOYMENT IN
              VIOLATION OF CHAPTER 21 OF THE TEXAS LABOR CODE

39. Each of the paragraphs is incorporated by reference as if fully set forth herein.

40. Ms. Abraham is a female and a member of a protected class.
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41. Ms. Abraham was harassed by Defendants on the basis         of her gender in the workplace

    because Ms. Abraham did not meet Defendants' gender stereotypes on how women

    should act and appear.

42. Defendant Freeman's verbal and gestural harassment of Ms. Abraham was so severe and

    pervasive as to affect and/or alter a term, condition, and/or privilege of her employment

    The harassment was abusive.

43. Defendant Freeman's harassment      of Ms. Abraham based upon his gender stereotypes of

    how women should act and appear, unreasonably interfered with Ms. Abraham's work

    performance and psychological well-being.

44. Defendant Viacom knew of should have known about the harassment as early as October

    30, 2017 when Defendant Freeman made inappropriate comments regarding Ms.

    Abraham's appearance, past work history, and work ethic when Ms. Abraham

    complained about this conduct.

45. Defendants failed to take corrective and/or appropriate action subsequent to being placed

    on notice regarding Defendant Freeman's severe and pervasive behavior.

46. As a result of Defendants' unlawful discrimination, Ms. Abraham has been, and

    continues to be, damaged.

47. Defendants' actions, either directly or through their employees or agents, demonstrate

    malice or aggravated or egregious fraud and Ms. Abraham is therefore entitled to punitive

    damages and her reasonable attorneys' fees incurred in pursuing this action.

                                          COUNT 1V

WRONGFUL TER        NATION/RETALIAflOIr IN EMPLOYMENT IN VIoL.TIoN OF CHAPTER 21
                            OF THE TExAs LABOR CODE

48. Each of the paragraphs is incorporated by reference as if fully set forth herein.



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49. Ms. Abraham is a member of a protected class.

50. Ms. Abraham opposed a practice made unlawful by Chapter 21      of the Texas Law Code

   by complaining to the executives about her severe and pervasive harassment because Ms.

   Abraham did not meet Defendant Freeman's gender stereotypes on how women should

   act and appear.

51. Ms. Abraham was subsequently terminated from her employment

52. Ms. Abraham's termination is causally related to protected activity of opposing

   Defendants' unlawful employment practice.

53. As a result   of Defendants' unlawful discrimination, Ms. Abraham has been, and

   continues to be, damaged.

54. Defendants' actions, either directly or through their employees or agents, demonstrate

   malice or aggravated or egregious fraud and Ms. Abraham is therefore entitled to punitive

   damages and her reasonable attorneys' fees incurred in pursuing this action.

                                         COUNT V

                  NEGLIGENT HIRING, RETENTION, AND/OR SUPERvIsIoN

55. Each of the preceding paragraphs is hereby incorporated by reference as   if fully set forth

   herein.

56. Defendants Viacom and NRPI owed Ms. Abraham a duty to exercise ordinary care in

   hiring, retaining, and supervising employees and/or agents working with Viacom and

   NRPI.

57. Defendants breached that duty   of care when it directly, and/or through its agents and/or

   employees, failed to exercise ordinary care in hiring, retaining, and/or supervising its
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      agents and/or employees who discriminated against, and engaged in other tortious

      conduct toward, Ms. Abraham.

58. Defendants' breach(es) directly and/or through its agents and/or employees proximately

      caused, and continues to proximately cause, damages to Ms. Abraham in an amount to be

      determined at trial, but consisting of contractual damages, economic damages, and non-

      economic compensatory damages such as those for emotional pain, emotional suffering,

      inconvenience, mental anguish, loss of enjoyment of life, and other nonpecuniary losses.

59.   Defendants' actions, either directly or through their employees or agents, demonstrate

      malice or aggravated or egregious fraud and Ms. Abraham is therefore entitled to punitive

      damages and her reasonable attorneys' fees incurred in pursuing this action.

                                            COUNT VI

                  WRONGFUL TERMINATION IN VIOLATION OF PUBLIC POLICY

60.   Each of the preceding paragraphs is hereby incorporated by reference as if fully set forth

      herein.

61.   There is a clear public policy of, among other things, preventing workplace harassment,

      based upon gender roles and/or gender stereotypes.

62.   This public policy is manifested in the state or federal constitution, state or federal

      statutes, state or federal regulations, and/or state or federal common law.

63.   Ms. Abraham was terminated under circumstances that jeopardize the public policy(ies).

64.   Ms. Abraham's tennination was motivated by conduct related to the public policy(ies).

65.   Defendants lacked an overriding legitimate business justification for the dismissal.

66.   As a result of Defendants' actions, Ms. Abraham has been, and continues to be, damaged.
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67. Defendants' actions, either directly or through its employees or agents, demonstrate

   malice or aggravated or egregious fraud and Ms. Abraham is therefore entitled to punitive

   damages and her reasonable attorneys' fees incurred in pursuing this action.

                                          COUNT VII

                                          NEGLIGENCE

                            (DIRECTLY AND/OR VICARIOUSLY)

68. Each of the preceding paragraphs is hereby incorporated by reference as   if fully set forth

   herein.

69. Defendants owed Ms. Abraham a duty to act with ordinary care towards Ms. Abraham

   and with respect to her employment by Defendants.

70. Defendants either directly, or vicariously through their agents and/or employees,

   breached that duty of care by their actions described in this Complaint.

71. Defendants' breach proximately caused, and continues to cause, damages to Ms.

   Abraham in an amount to be determined at trial, but consisting of contractual damages,

   economic damages, and non-economic compensatory damages such as those for

   emotional pain, emotional suffering, inconvenience, mental anguish, loss of enjoyment of

   life, and other nonpecuniary losses.

72. Defendants' actions, either directly or through their employees or agents, demonstrate

   malice or aggravated or egregious fraud and Ms. Abraham is therefore entitled to punitive

   damages and her reasonable attorneys' fees incurred in pursuing this action.

                                          COUNT Vifi

                   INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS

              (AGAINST ALL DEFENDANTS DIRECTLY AND/OR VICARIOUSLY)




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73. Each of the preceding paragraphs is hereby incorporated by reference as   if fully set forth

   herein.

74. Defendants' unlawful and/or tortious actions described in this Complaint were taken

   intentionally or recklessly.

75. Defendants' unlawful and/or tortious actions described in this Complaint are outrageous

   and intolerable such that they offend the generally accepted standards of decency and

   morality.

76. As a proximate result   of Defendants' unlawful and/or tortious actions described in this

   Complaint, Ms. Abraham has suffered, and continues to suffer, damages in an amount to

   be determined at trial, but consisting of emotional pain, emotional suffering,

   inconvenience, mental anguish, loss of enjoyment of life, and other nonpecuniary losses.

77. The emotional pain, emotional suffering, inconvenience, mental anguish, loss of

   enjoyment of life, and other nonpecuniary losses Ms. Abraham has suffered, and

   continues to suffer, is severe.

78. Defendants' actions, either directly or through their employees or agents, demonstrate

   malice or aggravated or egregious fraud and Ms. Abraham is therefore entitled to punitive

   damages and her reasonable attorneys' fees incurred in pursuing this action.

                                         COUNT IX

                                        DEFAMATION

79. Each of the preceding paragraphs is hereby incorporated by reference as   if fully set forth
   herein.

80. Defendant Freeman made false and defamatory statements regarding Ms. Abraham.




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81. Defendant published these statements to others. Specifically, Defendant made false and

   defamatory statements in the presence of other employees of Eleventh Street Productions,

   Inc., and directly to the media.

82. Defendant has caused and continues to cause, damages to Ms. Abraham in an amount to

   be determined at trial, but consisting of contractual damages, economic damages, and

   non-economic compensatory damages such as those for emotional pain, emotional

   suffering, inconvenience, mental anguish, loss of enjoyment of life, and other

   nonpecumary losses.

83. Because   Defendant Freeman persistently told others that Ms.               Abraham was

   unprofessional and insubordinate, despite knowing that these statements were false,

   Defendant acted with malice or aggravated or egregious fraud and Ms. Abraham is

   therefore entitled to punitive damages and her reasonable attorneys' fees incurred in

   pursuing this action.

                                          COUNT X

   ToRTIous INTERFERENCE WITH ACTUAL AND PROSPECTIVE BusINEss RELATIONS
                    (AGAINST DEFENDANT FREEMAN)

84. Plaintiff repeats and incorporates by reference all paragraphs set forth above as   if fully set
   forth herein.

85. A valid business relationship, valid business expectancy, and/or employment relationship

   existed between Ms. Abraham, Viacom, and NRPI.

86. Defendant Freeman had knowledge of the valid business relationship, valid business

   expectancy, and/or employment relationship that existed between Ms. Abraham, Viacom

   and NRPL




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87. Defendant acted to intentionally inhibit the valid business relationship, valid business

   expectancy, and/or employment relationship between Ms. Abraham, future employers,

   and other companies through spreading false and defamatory statements about Ms.

   Abraham.

88. Defendant acted with an improper motive and lack of justification.

89. Defendant acted with actual malice.

90. As a result of Defendant's actions, Ms. Abraham has been and continues to be damaged

   in an amount to be detennined at trial.

91. Defendant's actions, either directly or through its employees or agents, demonstrate

   malice or aggravated or egregious fraud and Ms. Abraham is therefore entitled to punitive

   damages.

92. Defendant's actions, either directly or through its employees or agents, demonstrate

   malice or aggravated or egregious fraud and Ms. Abraham is therefore entitled to her

   reasonable attorney's fees incurred in pursuing this action.

                                          COUNT XI

   ToRTIous INTERFERENCE WiTh AcTuAL AND PROSPECTiVE BusJNEss RELATIONS
                      (AGAiNST VIACOM AND NRP1)

93. Plaintiff repeats and incorporates by reference all paragraphs set forth above as   if fully set
   forth herein.

94. A valid business relationship, valid business expectancy, and/or employment relationship

   existed between Ms. Abraham and future network television shows.

95. Defendants Viacom and NRPI had knowledge         of this valid business relationship, valid
   business expectancy, and/or employment relationship.




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%. Defendants acted to intentionally inhibit the valid business relationship, valid business

   expectancy, and/or employment relationship between Ms. Abraham, future employers,

   and other companies through spreading false and defamatory statements about Ms.

   Abraham and by enforcing exclusivity provisions under her contract in bad faith.

97. Defendants acted with an improper motive and lack ofjustification.

98. Defendants acted with actual malice.

99. As a result of Defendants' actions, Ms. Abraham has been and continues to be damaged

   in an amount to be determined at trial.

100.       Defendants' actions, either directly or through its employees or agents,

   demonstrate malice or aggravated or egregious fraud and Ms. Abraham is therefore

   entitled to punitive damages.

101.       Defendants' actions, either directly or through its employees or agents,

   demonstrate malice or aggravated or egregious fraud and Ms. Abraham is therefore

   entitled to her reasonable attorney's fees incurred in pursuing this action.

                                        COUTT XII

                                             ASSAULT

102.       Each of the preceding paragraphs is hereby incorporated by reference as if fully

   set forth herein.

103.       On October 30, 2017, Defendant Freeman intended to cause and did cause Ms.

   Abraham to suffer immediate apprehension of an imminent or harmful contact.

104.       The above-described conduct occurred        within   the scope of Ms. Abraham's

   employment with Viacom and NRPI.




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105.       As a direct and proximate result of Freeman's conduct, Ms. Abraham suffered

   severe emotional distress.

106.       Defendant Freeman's actions were done willfully, wantonly, maliciously, and

   without privilege or provocation, and Ms. Abraham is entitled to punitive damages in an

   amount to be determined at trial.

                                       [s1IJia:ut

                                BREACH OF CONTRACT

107.       All of the preceding paragraphs are hereby incorporated by reference as if fully

   set forth herein.

108.       A written contract ("Agreement") was entered into between Ms. Abraham and

   NRPI.

109.       Defendant had an obligation to make certain rights payments to Ms. Abraham

   pursuant to paragraph 3 of the Agreement.

110.       Ms. Abraham performed all of the conditions, covenants, and promises required

   by her to be performed in accordance with the terms and conditions of the Agreement.

111.       Defendant breached its contract with Ms. Abraham by failing to make payment

   consistent with paragraph 3 of the contract

112.       As a direct and proximate cause of Defendant's actions, Ms. Abraham has

   suffered damages and continues to suffer damages.

113.        As a result of the breach by Defendant, Ms. Abraham has been damaged in an

   amount exceeding $1,000,000.00, plus prejudgment and postjudgment interest, costs, and

   attorneys' fees.




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                                        COUNT X1V

                                       CONVERSION

                             (AGAINST DEFENDANT NRP1)

114.          All of the preceding paragraphs are hereby incorporated by reference.

115.       Defendant intentionally and wrongfully obtained and kept without permission,

   Ms. Abraham's money.

116.       Defendant knew, or should have known, that it had no right to possess or keep

   Ms. Abraham's money. Nevertheless, in conscious disregard of Ms. Abraham's legal

   rights and property interests (and despite Ms. Abraham's repeated requests for payment),

   Defendant chose to obtain, keep, and use Ms. Abraham's money for its own financial

   benefit.

117.          At all relevant times Defendant acted with malice and conscious disregard of Ms.

   Abraham's legal rights and property interests.          By wrongfully holding on to Ms.

   Abraham's property, Defendant converted Ms. Abraham's property.

118.          Defendant's refusal to pay the money constitutes an intentional interference with

   Ms. Abraham's ownership rights in that property, which deprived Ms. Abraham          of her
   right to possess that property.

119.       Defendant's actions have damaged, and continue to damage, Ms. Abraham.

120.          Accordingly, Ms. Abraham is entitled to an award of compensatory damages in an

   amount to be determined at the trial.

121.       In light of the malicious, intentional and/or willful nature of Defendant's actions,

   Ms. Abraham is also entitled punitive damages and attorneys' fees in an amount to be

   determined at trial.




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                                           COUNT XV
                                    LIJ1IdJLIWII
                                 (AGAINST DEFENDANT NRPI)

   122.         All of the preceding paragraphs are hereby incorporated by reference.

   123.         Defendant has been unjustly enriched at the expense of Ms. Abraham' by failing

         to pay Ms. Abraham the money she is owed, as set forth above.

   124.         As a direct and proximate result of Defendant's unjust enrichment, Ms. Abraham

         has suffered damages in an amount to be determined at trial.

                                       PRAYER FOR RELIEF

   WHEREFORE,         Ms.   Abraham requests judgment in her favor on all Counts alleged in this

Complaint and requests the following relief:

   (a)          Economic compensatory damages, non-economic compensatory damages, and

punitive damages in an amount to be determined at trial but exceeding $5,000,000;

   (b)          Reasonable attorneys' fees incurred in pursuing this lawsuit;

   (c)          All other costs and expenses of the lawsuit;

   (d)          Pre- and post-judgment interest; and

   (e)          Any other relief this Court deems just and proper under the circumstances.

                                           JURY DEMAND

                Pursuant to Federal Rule of Civil Procedure 38(b), Ms. Abraham hereby demands

a trial by the maximum amount of jurors permitted by law on all claims asserted in the

Complaint.




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                                  Respectfully submitted,



                                  Is! Avonte amyinha-Bacote
                                  Avonte D. Campinha-Bacote (Pro Hac Vice)
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                                  Counselfor Plaintiff




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